Case 2:10-cr-00175-WFN   ECF No. 86   filed 09/14/11   PageID.246 Page 1 of 6
Case 2:10-cr-00175-WFN   ECF No. 86   filed 09/14/11   PageID.247 Page 2 of 6
Case 2:10-cr-00175-WFN   ECF No. 86   filed 09/14/11   PageID.248 Page 3 of 6
Case 2:10-cr-00175-WFN   ECF No. 86   filed 09/14/11   PageID.249 Page 4 of 6
Case 2:10-cr-00175-WFN   ECF No. 86   filed 09/14/11   PageID.250 Page 5 of 6
Case 2:10-cr-00175-WFN   ECF No. 86   filed 09/14/11   PageID.251 Page 6 of 6
